                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           EASTERN DISTRICT OF VIRGINIA

                                     Alexandria Division

UNITED STATES OF AMERICA                           )
                                                   )       No. 1:22-cr-165
      v.                                           )
                                                   )       Hon. Michael S. Nachmanoff
HATCHET M. SPEED,                                  )
                                                   )
      Defendant.                                   )

                                           ORDER

      Upon consideration of the Government’s Motion in Limine to Preclude Testimony and

Evidence Regarding Vienna Arsenal (the “Motion”), and for good cause shown, it is hereby

       ORDERED that the Motion is GRANTED;

       ORDERED that the defendant, Hatchet Speed, is precluded from eliciting testimony or

introducing evidence regarding “solvent traps” sold at Vienna Arsenal.

       It is SO ORDERED.




Alexandria, Virginia                                The Honorable Michael S. Nachmanoff
January        , 2023                               United States District Judge
